Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 1 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 2 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 3 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 4 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 5 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 6 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 7 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 8 of 9
Case 7:21-cv-01771-CS-JCM Document 1 Filed 03/02/21 Page 9 of 9
